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Counsel for Defendant David J. Richards, LLC d/b/a Western US Mineral Investors, LLC


                        IN THE UNITED STATES BANKRUPTCY COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 In re
                                                     Bankruptcy Case No. 16-24818
 CS MINING, LLC,                                            (Chapter 11)

          Debtor,                                    Judge William T. Thurman


 CS MINING, LLC, a Delaware limited                  Adv. Proc. No.: 17-02024
 liability company,

          Plaintiffs,
                                                     MOTION FOR PARTIAL SUMMARY
 v.                                                  JUDGMENT

 DAVID J. RICHARDS, LLC, d/b/a
 WESTERN US MINERAL INVESTORS,
 LLC, SKYE MINERAL INVESTORS, LLC,
 an Ohio limited liability company;

          Defendants.


         Pursuant to Fed. R. Civ. P. 56, Fed. R. Bankr. P. 7056, and Local Rule 7056-1, David J.

Richards, LLC d/b/a Western US Mineral Investors, LLC (“WUMI”) moves for partial summary
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judgment. WUMI asks the Court to dismiss, with prejudice, Counts II (recharacterization of

WUMI loan) and IV (breach of contract) of CS Mining’s Complaint.

                                        INTRODUCTION

       After acquiring copper mining assets in Milford, Utah, CS Mining initiated a two-part

plan to operate and expand its mining operation. To execute its plan, CS Mining secured loans

from several lenders, including WUMI and Noble Americas Corp., (“Noble”). In a series of

draws, CS Mining first borrowed approximately $20.5 million from WUMI. In exchange, WUMI

obtained a senior lien over substantially all of CS Mining’s assets. Noble subsequently agreed to

loan an additional $30 million to CS Mining, paying $15 million dollars initially and agreeing to

provide the remaining funds when CS Mining raised matching equity financing. In connection

with Noble’s loan, the parties entered into an Intercreditor Agreement by which WUMI agreed to

subordinate its liens with respect to the Phase II mining assets while retaining a first position

with respect to Phase I assets. In addition to the subordination provisions, the Intercreditor

Agreement includes a conversion clause that would have required WUMI to convert its

remaining lien interests to equity, if certain conditions precedent were met. But the requisite

conditions were not met.

       In particular, the conversion clause applies only if there are no “Events of Default” under

CS Mining’s loan agreement with Noble and Noble’s successor, Waterloo Street Limited

(“Waterloo”), or in connection with full payment of the $30 million loaned by Noble/Waterloo.

It is undisputed that multiple Events of Default occurred, and CS Mining, Noble, and Waterloo

have explicitly recognized as much. Yet CS Mining now asks this court to extinguish WUMI’s

rights as a creditor by invoking the conversion clause, based on a purported waiver of default by


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Waterloo. This waiver, however, cannot alter the fact that Events of Default existed. Even if

Waterloo waived its enforcement rights stemming from the undisputed Events of Default, the

Events of Default occurred. Because multiple Events of Default indisputably occurred in this

case, CS Mining cannot invoke the conversion clause as a basis for its claims against WUMI.

Summary judgment should therefore be granted with respect to any claims based on this

provision.

       Alternatively, the court should grant summary judgment based on CS Mining’s failure to

fulfill its contractual obligations owed to WUMI. Perhaps most relevant here, CS Mining and

WUMI agreed that CS Mining would provide notice to WUMI before drawing down the full

amount of the Noble/Waterloo loan. CS Mining breached this agreement and drew down the loan

in an effort to implicate the conversion clause and extinguish WUMI’s lien rights. With this

breach, CS Mining cannot establish a necessary element of its breach of contract claim—the

element requiring proof that it fulfilled its own contractual obligations.

        STATEMENT OF ELEMENTS AND UNDISPUTED MATERIAL FACTS

       In Count II of its Complaint, CS Mining “seeks an order recharacterizing the amounts

allegedly due and owing to WUMI as equity contributions.” Compl. ¶ 104. To analyze these

claims, the court must apply a multi-factor test to “distinguish true debt from camouflaged

equity.” In re Hedged-Invs. Assocs., Inc., 380 F.3d 1292, 1298 (10th Cir. 2004). In the context

of these factors, CS Mining alleges four grounds for recharacterization. See Compl. ¶¶ 98-101.

For purposes of this motion, WUMI seeks summary judgment as to one of the factors or grounds

identified by CS Mining in its complaint. In particular, CS Mining alleges that WUMI was

required to convert its debt to equity under the terms of the Intercreditor Agreement. See Compl.


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¶ 101. The undisputed facts demonstrate that WUMI had no obligation to convert its debt to

equity under that agreement.

       In Count IV, CS Mining similarly asserts WUMI breached the Intercreditor Agreement

by failing to convert its loan to equity. To establish this breach of contract claim, CS Mining

must prove (1) a contract existed between CS Mining and WUMI; (2) CS Mining performed

under the contract; (3) WUMI breached the contract; and (4) damages. See Global Fitness

Holdings, LLC v. Fed. Recovery Acceptance, Inc., 127 F. Supp. 3d 1214, 1226 (D. Utah. 2015).

Because CS Mining cannot establish either the second or the third elements, the Court should

grant summary judgment on Count IV.

       The following undisputed facts support summary judgment:

       1.      On August 10, 2012, CS Mining and WUMI entered into the WUMI Loan

Agreement, which “gave WUMI a senior lien over substantially all of CS Mining’s assets.”

Compl. ¶¶ 41–42, Dkt. No. 1; WUMI Loan Agreement, attached as Ex. 1.

       2.      WUMI initially loaned $1 million to CS Mining and loaned several million

dollars more to CS Mining over the next two years. As CS Mining describes, “From 2012

through 2014, WUMI lent CS Mining a total of $20.5 million in a series of draws as additional

funding was requested and approved by the Board of CS Mining.” Compl. ¶ 44.

       3.      The ongoing draws were memorialized in a series of Amendments to the WUMI

Loan Agreement. Id. ¶¶ 45–52.

       4.      On August 12, 2014, Noble agreed to loan CS Mining an additional $30 million,

paying $15 million dollars initially and agreeing to pay the remaining $15 million when CS

Mining raised matching equity financing. Noble/Waterloo Agreement, attached as Ex. 2.


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        5.     The same day, CS Mining, WUMI, and Noble entered into a contract titled the

Intercreditor Agreement, in which WUMI agreed to subordinate its lien interests in the Phase II

assets held by CS Mining at its Milford mine. WUMI, however, retained a first priority lien in

CS Mining’s Phase I assets. Intercreditor Agreement at 2–3, attached as Ex. 3.

        6.     Paragraph 5.2 of the Intercreditor Agreement provides,

                5.2     Mandatory Conversion        In the event that Project Completion
        Date (as defined in the Noble Loan Agreement) occurs or Noble loans the Borrower
        the Full Facility Amount pursuant to the Noble Loan Agreement, and there are no
        existing defaults under the Noble Loan Agreement or that occur in connection with
        lending the Full Facility Amount, WUMI hereby agrees to promptly (but in any
        event within 5 business days) convert the WUMI Obligations in full into the equity
        . . . . In connection with such conversion, the WUMI obligations will be
        extinguished all Liens held by WUMI on Collateral shall be released.

Id. at 4.

        7.     On March 10, 2015, WUMI and CS Mining agreed to the Tenth Amendment to

the WUMI Loan Agreement, which states that “[p]rior to drawing down more than $29,750,000

of the loan facility pursuant to the [Noble/Waterloo Loan Agreement], dated August 12, 2014,

[CS Mining] shall notify [WUMI] . . . and obtain [WUMI’s] consent and approval from the

following, not to be unreasonable withheld.” Tenth Amendment to Loan & Security Agreement,

attached as Ex. 4.

        8.     As of July 8, 2015, Noble had paid $29,750,000 of the $30 million available

under the Noble/Waterloo Loan Agreement. Compl. ¶ 66.

        9.     On November 10, 2015, Noble sent a letter to CS Mining stating, “We hereby

notify you that the failure by [CS Mining] to pay interest in cash within seven (7) days of the

date when due pursuant to Section 2.07 of the [Noble/Waterloo Loan Agreement] constitutes



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Events of Default under the Agreement. Letter from Noble to CS Mining (Nov. 10, 2015),

attached as Ex. 5; see also Compl. ¶ 68; Answer ¶ 68.

       10.     On December 30, 2015, Noble sent another letter to CS Mining stating, “You are

aware that Events of Default have occurred and as of this date are continuing under the

Agreement.” Letter from Noble to CS Mining (Dec. 30, 2015), attached as Ex. 6; see also

Compl. ¶ 69; Answer ¶ 69.

       11.     On December 31, 2015, Waterloo acquired the Noble Loan. Compl. ¶ 70.

       12.     In a January 1, 2016 announcement to its shareholders regarding the acquisition

of the Noble/Waterloo Loan Agreement, Waterloo’s parent company acknowledged that CS

Mining was “currently in default under the existing loan agreements.” Joint Announcement at 2,

attached as Ex. 7.

       13.     On January 7, 2016, Waterloo sent a letter to CS Mining. The letter stated that it

would “serve as notice that one of more Events of Default have occurred and are continuing, as

[CS Mining] was previously notified by [Noble] in its letters of November 10, 2015 and

December 30, 2015.” Letter from Waterloo to CS Mining (Jan. 7, 2016), attached as Ex. 8.

       14.     On January 13, 2016, Waterloo’s attorney sent a letter to WUMI demanding that

WUMI convert its debt to equity. Letter from Stuart A. Shanus to WUMI (Jan. 13, 2016),

attached as Ex. 9.

       15.     WUMI responded by explaining that several Events of Default had occurred, and

as a result, WUMI was not required to convert its loans to equity. Letter from WUMI to

Waterloo and CS Mining (Jan. 15, 2016), attached as Ex. 10.




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       16.     On February 2, 2016, WUMI sent another letter to Waterloo again explaining that

Events of Default had occurred under the WUMI Loan Agreement. Letter from WUMI to

Waterloo and CS Mining (Feb. 2, 2016), attached as Ex. 11; see also Compl. ¶ 71; Answer ¶ 71.

       17.     The next day, “[o]n February 3, 2016, CS Mining drew down the last installment

under the Noble/Waterloo Loan Agreement, bringing the total amount loaned to CS Mining

under the Noble/Waterloo Agreement to $30 million.” Compl. ¶ 72. CS Mining did not provide

notice to WUMI of the final draw from the Noble/Waterloo Loan. Declaration of Robert Lautz,

attached as Ex. 12.

       18.     Also on February 3, 2016, Waterloo signed a waiver acknowledging that it had

“been informed that certain Events of Default have occurred and are continuing” but purporting

to waive any defaults that existed as of that date. Waiver, attached as Ex. 13.

       19.     On February 17, 2017, CS Mining filed this adversary proceeding, alleging that

“[a]s of February 4, 2016, Noble/Waterloo had fulfilled the obligation to fully fund $30 million,

and no defaults existed as described in Section 8.01 in the Noble/Waterloo Loan Agreement, as

any events of default that may have existed had been waived by Waterloo. . . . Thus, under the

Intercreditor Agreement, WUMI was obligated to convert its debt into equity and release its

remaining liens by no later than February 11, 2016. . . . Despite being obligated to convert its

loan into SMP equity and to take steps to release its liens, WUMI has refused to do so.” Compl.

¶¶ 74–76.

       20.     But, in discovery in this case, Noble admitted it sent letters to CS Mining dated

November 10, and December 30, 2015, in which Noble informed CS Mining that one or more

Events of Default had occurred under the Noble/Waterloo Loan Agreement. Noble Americas


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Corp.’s Resps. To WUMI’s 4/7/17 Reqs. for Admission & Interrogs. at p. 4, attached as Ex. 14.

Noble further admits that as of December 30, 2015, one more Events of Default had in fact

occurred under the Noble/Waterloo Loan Agreement. Id.

       21.      Waterloo’s Rule 30(b)(6) witness similarly admitted that “[t]here was a default”

with respect to the Noble/Waterloo Loan prior to February 3, 2016. Norohna Dep. at 139:11–

140:3, cited portions of rough draft transcript attached as Ex. 15. Waterloo’s deponent further

confirmed Waterloo’s position that the Noble/Waterloo Loan continues to be in default. Id. at

140:20–142:7.

                                          ARGUMENT

I.     THE COURT SHOULD GRANT SUMMARY JUDGMENT BECAUSE THE
       EXISTENCE OF DEFAULTS UNDER THE WATERLOO LOAN MEAN WUMI
       IS NOT REQUIRED TO CONVERT ITS DEBT TO EQUITY.

       A.       The Absence of Default under the Waterloo Loan Is a Condition Precedent
                for WUMI’s Obligation to Convert.

       In Counts II and IV of this adversary proceeding, CS Mining asserts that WUMI must

convert its loan to equity pursuant to Section 5.2 of the Intercreditor Agreement. In Count II, CS

Mining describes conversion as “mandatory” and seeks recharacterization of its loan based on

WUMI’s refusal to convert. (Compl. ¶ 101.) In its breach of contract claim asserted in Count IV,

CS Mining alleges Noble/Waterloo fulfilled the obligation under the Intercreditor Agreement to

fully fund $30 million, and any default by CS Mining had been waived by Waterloo. (Id. ¶ 115.)

Based on the completed $30 million payment from Noble/Waterloo, CS Mining again asserts,

“WUMI was obligated to convert its debt into equity and release its remaining liens.” (Id. ¶ 116.)

These allegations, however, overlook the failure of a condition precedent set forth in the

conversion provision itself.

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       Under Section 5.2 of the Intercreditor Agreement, WUMI must convert CS Mining’s debt

into an equity interest only if “the Project Completion Date (as defined in the Noble Loan

Agreement) occurs or Noble [succeeded here by Waterloo] loans the Borrower the Full Facility

Amount pursuant to the Noble Loan Agreement, and there are no existing defaults under the

Noble Loan Agreement or that occur in connection with lending the Full Facility Amount . . . .”

(Intercreditor Agreement at 4, Ex. 3 (emphasis added).) Thus, even if Noble/Waterloo loaned the

full amount under the Noble/Waterloo Loan Agreement, the payment alone does not trigger the

conversion clause. Rather, under the plain language of Section 5.2, if a single default exists

under either the Noble/Waterloo Loan Agreement or in connection with payment of the $30

million dollars by Noble/Waterloo, WUMI is not required to convert its interest to equity. And

the undisputed facts establish that multiple defaults existed, each of which eliminated WUMI’s

conversion obligation.

       B.      It Is Undisputed that the Waterloo Loan Was in Default.

       The Noble/Waterloo Loan Agreement defines “Default” as “any event or condition that

constitutes an Event of Default or that, with the giving of any notice, the passage of time, or

both, would be an Event of Default.”1 (Noble/Waterloo Loan Agreement at 4, Ex. 2.) It is

undisputed that CS committed a series of defaults under the terms of the Noble/Waterloo Loan

Agreement. Noble first provided written notice of an Event of Default on November 10, 2015.

(Letter from Noble to CS Mining (Nov. 10, 2015), Ex. 5; see also Compl. ¶ 68; Answer ¶ 68.)



1
  The agreement also provides a list of several specific “Events of Default.” (Noble/Waterloo
Loan Agreement at 42–46, Ex. 2.) The circumstances surrounding each of CS Mining’s defaults
are not material because it is undisputed that “Events of Default” occurred, which is the relevant
inquiry for purposes of this motion.
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Then, on December 30, 2015, Noble sent another letter stating that Events of Default had

occurred and were continuing as of that date. (Letter from Noble to CS Mining (Dec. 30, 2015),

Ex. 6; see also Compl. ¶ 69; Answer ¶ 69.) After Waterloo acquired the Noble Loan, Waterloo’s

parent company sent an announcement to shareholders again acknowledging CS Mining was

“currently in default under the existing loan agreements.” (Joint Announcement at 2, Ex. 7.) The

next week, Waterloo itself sent a letter to CS Mining, serving “as notice that one of more Events

of Default have occurred and are continuing.” (Letter from Waterloo to CS Mining (Jan. 7,

2016), Ex. 8.) Even after CS Mining filed this adversary proceeding, Noble and Waterloo again

confirmed that Events of Default had occurred. In response to WUMI’s requests for admission,

Noble admitted (1) it sent letters to CS Mining stating that Events of Default had occurred, and

(2) as of December 30, 2015, one more Events of Default had in fact occurred. (Noble Americas

Corp.’s Resps. to WUMI’s 4/7/17 Reqs. for Admission & Interrogs. at p. 4, Ex. 14.) Waterloo’s

Rule 30(b)(6) witness also admitted “[t]here was a default” with respect to the Noble/Waterloo

Loan prior to February 3, 2016, the date it signed the waiver form, and the default continues to

the present. (Norohna Dep. at 139:11–142:7, Ex. 15.)

       C.      It Is Impossible to “Waive” the Fact that Defaults Exisited.

       CS Mining does not dispute these unequivocal admissions by both Noble and Waterloo

that Events of Default occurred and continue to occur under the Noble/Waterloo Loan

Agreement. Rather, CS Mining maintains that Waterloo’s waiver effectively eliminated any

defaults as of February 3, 2016. Waterloo first demanded that WUMI convert its loan to equity

upon acquiring the Noble Loan. And when WUMI responded on February 2, 2016, by

confirming that Events of Default had occurred which eliminated the requirement to convert,


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Waterloo signed a waiver the next day purporting to waive any and all Events of Default that

may have existed as of that date. CS Mining maintains that with this signed waiver, “no defaults

existed as described in Section 8.01 in the Noble/Waterloo Loan Agreement, as any events of

default that may have existed had been waived by Waterloo.” (Compl. ¶ 115.)

       These allegations reflect a fundamental misunderstanding of the concept of waiver.

“Waiver is the voluntary relinquishment or surrender of some known right. Its constituent

elements are an existing right; knowledge of such right; and an intention to relinquish or

surrender it.” Yates v. Am. Republics Corp., 163 F.2d 178, 179 (10th Cir. 1947) (emphases

added). Thus, only rights may be waived. And a default, by definition, is not a right. A default is

an “omission or failure to perform a contractual obligation.” Black’s Law Dictionary 507 (10th

ed. 2009). In the Noble/Waterloo Loan Agreement, “default” is more specifically defined as “any

event or condition that constitutes an Event of Default,” with “Event of Default” being further

identified as including any one of several enumerated events that would constitute a failure to

perform under the contract. (Noble/Waterloo Loan Agreement at 4, 42–46, Ex. 2.)

       As explained above, it is undisputed that certain events or conditions have occurred that

constitute Events of Default by CS Mining under the Noble/Waterloo Loan Agreement. For

example, on November 10, 2015, Noble first informed CS Mining that an Event of Default had

occurred, based on CS Mining’s failure to make interest payments when due. (Letter from Noble

to CS Mining (Nov. 10, 2015), Ex. 5.) The occurrence of this event and all other Events of

Default triggered Waterloo’s enforcement rights against CS Mining. While Waterloo may choose

to waive those rights, any such waiver cannot change the existence of the underlying defaults.

Using the nonpayment example, Waterloo may waive it right to collect the amounts owed, but


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the fact that CS Mining failed to pay—i.e., the Event of Default—still exists. An Event of

Default cannot disappear merely because Waterloo waives its rights related to that default.

       A simple hypothetical demonstrates that a litigant can waive a right, but not the existence

of a past event or fact. Assume an automobile passenger, “P,” sues two different drivers, “D1”

and “D2,” for injuries sustained in an automobile accident at an intersection. A key issue in

apportioning fault to D1 and D2 is whether the light was red or green. P settles with D1, and

stipulates with D1 that the light was red at the time of the accident. In doing so, P may waive her

right to sue D1 based on a theory that the light was green, but it cannot change the fact that the

light may in fact have been green. Whether the light was red or green is a fact; it is not a right

that can be waived.

       Similarly, in this case, all parties agree that several Events of Default existed under the

Noble/Waterloo Loan. This is an undisputed fact. Waterloo’s attempt to waive those defaults

does not change the fact that those defaults existed. At most, such waiver could only waive

Waterloo’s rights as a result of those defaults. But it did not waive WUMI’s rights, and it

certainly did not change the fact that defaults existed and continue to exist.

       Courts have confirmed this distinction, recognizing both explicitly and implicitly that

facts or events may not be waived. See, e.g., Republic of Iraq v. Beaty, 556 U.S. 848, 862 (2009)

(“Respondent Beaty objects that the President cannot waive a fact. But neither can Congress

legislate a fact.”); Estate of Parsons v. Palestinian Auth., 651 F.3d 118, 143–44 (D.C. Cir. 2011)

(citing Beaty as “assuming the correctness of the proposition that ‘the President cannot waive a

fact’” and explaining that even if legal arguments have been waived or forfeited, a court may

consider the underlying facts); Mattingly v. Integris Health, Inc., No. CIV-08-1208-C, 2009 WL


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3923625, at *2 (W.D. Okl. Nov. 17, 2009) (unpublished) (“[U]nder the clear unambiguous

language of the retirement plan, Defendant is the beneficiary and the waiver cannot alter that

fact.”); Commonwealth v. Wright, 99 A.3d 565, 576 (Pa. 2014) (“An appellant cannot waive

facts. Issues are waived, not record evidence.”).

       Cases suggesting to the contrary either involve circumstances significantly different than

those present here, or the courts and parties in such cases use imprecise language without

addressing the issue raised in this motion. For example, in Citibank, N.A. v. United

Subcontractors, Inc., a proposed amendment to the relevant contract purported to “waive the

default” caused by a borrower’s failure to comply with financial covenants in the contract. 581 F.

Supp. 2d 640, 643 (S.D.NY. 2008). But the decision does not address whether the above

language would have actually waived the existence of default, because the court concluded the

contract was terminated before the amendment was executed. Id. at 644–45; see also In re

Polaroid Corp. Sec. Litig., 465 F. Supp. 2d 232, 238 (S.D.N.Y. 2006) (stating that Polaroid

“need[ed] to obtain temporary waivers of defaults on financial covenants contained in important

short-term credit agreements” without discussing the scope or effect of such waivers). In Lasalle

Bank Nat’l Ass’n, v. Citicorp Real Estate, Inc., the court dismissed a breach of contract claim

where the contract allowed for waiver of “an ‘existing’ breach of default.” No. 01 CIV.

4389(AGS), 2002 WL 181703, at *6 (S.D.N.Y. 2002) (unpublished). Although the court and

parties stated the plaintiff had “waived” a default, Lasalle does not support the proposition that a

party’s waiver removes the existence of a default event. In Lasalle, the plaintiff had a contractual

ability to waive or defer payments from the defendant, and the plaintiff granted a waiver of three

payments prior to the time the payments were due. Thus, the plaintiff did not waive a default of


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the contract; the plaintiff waived its right to collect three payments that the defendant would owe

in the future. Accordingly, when the defendant later failed to make the payments that otherwise

would have been due, the plaintiff could not assert breach of contract because it had waived its

rights to such a claim. Id.

       WUMI has not found a case or any other legal authority supporting the proposition that a

party may sign a waiver and effectively eliminate the existence of underlying facts that constitute

an event of default. To the contrary, as a matter of law, although a party may waive rights related

to a default, the default itself does not disappear as a result of the waiver. Here, Waterloo

purported to waive “any and all Events of Default” existing as of February 3, 2016, but Waterloo

could waive only its rights related to those Events of Default; it is impossible for Waterloo to

waive the existence of a fact or event constituting default, particularly where Waterloo and

Noble both have repeatedly acknowledged that Events of Default occurred. And with the

undisputed Events of Default, WUMI has no duty to convert its loan to equity.

       Because CS Mining cannot establish WUMI’s obligation to convert, CS Mining also

cannot rely on WUMI’s failure to convert as a factor weighing in favor of the recharacterization

claim. Similarly, CS Mining cannot prove WUMI breached the Intercreditor Agreement by

refusing to convert its loan to equity. Summary judgment is therefore appropriate with respect to

the allegations related to conversion in Count II and based on CS Mining’s failure to prove a

necessary element of its breach of contract action in Count IV.

       D.      Waterloo’s Purported Waiver Was an Ineffective Sham.

       Waterloo’s purported waiver of defaults was ineffective to waive WUMI’s rights. The

waiver language reads, “[T]he Lender [Waterloo] hereby waives any and all Events of Default


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that may exist as of the date hereof . . .” See Ex. 13. But this language is then qualified as

follows:

          [P]rovided, however, that . . . in no event shall this waiver be deemed to be a
          waiver of enforcement of any of the Lender’s rights or remedies under the Loan
          Agreement and the other Loan Documents . . ., and in no event shall this waiver
          be deemed to be a cancellation or forgiveness of the indebtedness due but unpaid
          by the Borrower to the Lender as of the date hereof . . . Except as expressly
          provided herein, the Lender hereby reserves and preserves all of its rights and
          remedies against the Borrower . . .

          This waiver shall be effective only in this specific instance and for the specific
          purposes set forth herein and does not allow for any other or further departure
          from the terms and conditions of the Loan Agreement, or any other Loan
          Document, which terms and conditions shall remain in full force and effect.

Ex. 13.

          In other words, “We are notifying you that we waive all Events of Default, but we’re

really just kidding. We reserve everything.” This is not effective to waive existing defaults, and

it is certainly not effective to waive WUMI’s rights that arose from the facts of default. This was

nothing more than a futile attempt by Waterloo to force WUMI to convert, contrary to the

agreed-upon terms and conditions of Section 5.2 of the Intercreditor Agreement.

          Waterloo cannot seriously argue otherwise. If Waterloo’s waiver was a sincere and

genuine waiver of known rights, then Waterloo has forfeited its rights to repayment of its loan.

One of the defaults Waterloo’s predecessor identified in its November 10, 2015 was non-

payment. See Ex. 5. If Waterloo is sincere in its attempted waiver, then it must be forced to

acknowledge it has waived is right to payment under the loan. Anything short of this would not

be a real waiver.

          In reality, Waterloo’s purported waiver was an ineffective sham attempt to “waive”

defaults—without really waiving them—in order to manufacture an argument that WUMI must

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convert. The waiver was not a genuine waiver. It did not waive WUMI’s rights. And it did not

change past or existing facts. The Court should grant summary judgment on these grounds.

II.    THE COURT SHOULD GRANT SUMMARY JUDGMENT BECAUSE CS
       MINING HAS NOT PERFORMED ITS CONTRACTUAL OBLIGATIONS.

       In addition, the Court may grant summary judgment on CS Mining’s breach of contract

claim because CS Mining did not perform its obligations under its contracts with WUMI. To

support this element, CS Mining alleges only that Waterloo fulfilled its obligations under the

Intercreditor Agreement. CS Mining does not allege that it fulfilled its own contractual

obligations to WUMI. And the undisputed evidence shows to the contrary: It is undisputed that

CS Mining failed to meet its obligations under the WUMI Loan Agreement. See Ex. 12. In

addition, in Section 2 of the Tenth Amendment to the WUMI Loan Agreement, CS Mining

agreed it would notify WUMI and obtain WUMI’s consent prior to drawing down more than

$29,750,000 of the loan from Waterloo. (Tenth Amendment to Loan and Security Agreement,

Ex. 4.) CS Mining did neither. CS Mining instead drew down the full amount of the

Noble/Waterloo Loan without notifying WUMI and then attempted to use this breach as a means

to compel WUMI to convert its loan to equity. Thus, rather than comply with the Intercreditor

Agreement and its other contracts with WUMI, CS Mining breached its contractual obligations

in nearly every material way. With its own contractual breaches, CS Mining cannot assert a

breach of contract claim against WUMI.

                                        CONCLUSION

       As a matter of law, CS Mining cannot invoke Section 5.2 of the Intercreditor Agreement

as the basis for its claims because a necessary condition precedent has not been satisfied where

Events of Default indisputably existed and continue to exist. Waterloo’s waiver of its contractual

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rights does not alter the fact that Events of Default occurred. And with these undisputed Events

of Default, WUMI was never and still is not obligated to convert its debt into equity.

Accordingly, summary judgment should be granted with respect to any of CS Mining’s claims

relying on the conversion clause, including Count II and IV. Summary judgment may also be

granted as to Count IV based on the undisputed evidence showing CS Mining did not fulfill its

own contractual obligations to WUMI.

       DATED this 19th day of June, 2017

                                                 SNOW, CHRISTENSEN & MARTINEAU

                                                 /s/ P. Matthew Cox
                                                 David L. Pinkston
                                                 Keith A. Call
                                                 P. Matthew Cox
                                                 Robert T. Denny
                                                 Attorneys for David J. Richards, LLC d/b/a
                                                 Western US Mineral Investors, LLC




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                                       CERTIFICATE OF MAILING

         I, P. Matthew Cox, attorney for David J. Richards, LLC d/b/a Western US Mineral

Investors, LLC, hereby certify that on the 19th day of June, 2017, I caused to be served a true

and correct copy of the foregoing MOTION FOR PARTIAL SUMMARY JUDGMENT,

Adversary Proceeding No. 17-02024, which was filed electronically, and electronically served

upon the parties in the manner indicated:

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                                                     /s/ P. Matthew Cox



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               LIPPO LIMITED                            LIPPO CHINA RESOURCES LIMITED
               力寶有限公司                                          力寶華潤有限公司
           (Incorporated in Hong Kong                            (Incorporated in Hong Kong
               with limited liability)                               with limited liability)
                 (Stock Code: 226)                                    (Stock Code: 156)



                                JOINT ANNOUNCEMENT

                          DISCLOSEABLE TRANSACTION

             ACQUISITION OF SALE SHARE IN,
  AND SHAREHOLDER’S LOAN OF, WATERLOO STREET LIMITED

 The respective Boards of Lippo and LCR wish to inform their shareholders that on 1 January
 2016 (Hong Kong time), the Buyer (an indirect wholly-owned subsidiary of LCR, which in
 turn is an approximate 71.24% indirect subsidiary of Lippo) entered into the Sale and
 Purchase Agreement with the Seller pursuant to which the Seller agreed to sell, and the Buyer
 agreed to purchase, the Sale Share, representing the entire issued share capital of the Target
 Company, and the Seller also agreed to assign, and the Buyer agreed to acquire, all the rights,
 benefits and interests of the Shareholder's Loan. Completion took place immediately after the
 signing of the Sale and Purchase Agreement.

 Since one or more of the applicable percentage ratios in respect of the Acquisition exceeds
 5% but is less than 25%, the Acquisition constitutes a discloseable transaction for each of
 Lippo and LCR under Chapter 14 of the Listing Rules and is subject to the reporting and
 announcement requirements as set out in Chapter 14 of the Listing Rules. The Acquisition,
 when aggregated with the investments made by the LCR Group in the Project Company
 subsequent to the acquisition referred to in the joint announcement of Lippo and LCR dated
 28 February 2012, shall continue to constitute a discloseable transaction for each of Lippo
 and LCR.

INTRODUCTION

The respective Boards of Lippo and LCR wish to inform their shareholders that on 1 January
2016 (Hong Kong time), the Buyer (an indirect wholly-owned subsidiary of LCR which in turn
is an approximate 71.24% indirect subsidiary of Lippo) entered into the Sale and Purchase
Agreement with the Seller pursuant to which the Seller agreed to sell, and the Buyer agreed to
purchase, the Sale Share, representing the entire issued share capital of the Target Company,
and the Seller also agreed to assign, and the Buyer agreed to acquire, all the rights, benefits and


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interests of the Shareholder's Loan. Completion took place immediately after the signing of the
Sale and Purchase Agreement.

PRINCIPAL TERMS OF THE SALE AND PURCHASE AGREEMENT

A summary of certain material terms of the Sale and Purchase Agreement is as follows:

Parties:                     1. Sincere Wish Global Limited, as the Buyer; and

                             2. Malimbu Limited, as the Seller.

Transaction:                The Seller sold, and the Buyer acquired, the Sale Share, representing
                            the entire issued share capital of the Target Company, and the
                            Shareholder's Loan pursuant to the Sale and Purchase Agreement.

Consideration:              The Consideration amounted to US$22,990,266 (equivalent to
                            approximately HK$178.2 million) and was payable in cash.

                            The Consideration was determined after arms’ length negotiations
                            between the Buyer and the Seller by reference to the value of the
                            Loans owned by the Target Company.


INFORMATION ON THE TARGET COMPANY

The Target Company is a company incorporated in the British Virgin Islands and its principal
business activity is investment holding. Its sole investments are the Loans to the Borrower,
which is a majority owned subsidiary of the Project Company.

As at the date of this announcement, the total amount owed by Borrower under the Loans
amounted to approximately US$33.15 million (equivalent to approximately HK$257 million),
representing the aggregate principal amount of US$29.75 million (equivalent to approximately
HK$230.6 million) together with accrued interest of approximately US$3.4 million (equivalent
to approximately HK$26.4 million). Interest on the Loans accrues at a rate based on US$
LIBOR plus a margin varying from 6% to 10% and the Loans are secured by, inter alia, certain
properties and assets and mining deposits owned by the Borrower. The Loans are repayable by
monthly instalments. The final maturity date will be 30 October 2019.

REASONS FOR AND BENEFITS OF THE ACQUISITION

The LCR Group has been investing indirectly in the Project Company since 2011. Through the
Borrower, the Project Company owns and controls a number of copper ore deposits located in
the United States. The Borrower is engaged in the business of mining and processing primarily
copper ore. From all the drilling and geology work that has been done to date, it is believed that
the Project Company has good mining deposits.

The acquisition of the Target Company which owns the Loans represents further investment
into the Project Company. Such investments generally are not without risks, including the risk
that the Borrower may not meet its repayment obligations on the Loans, or otherwise default
on its obligations under the relevant loan agreements. As far as the LCR Group is aware, the
Borrower is currently in default under the existing loan agreements; however, the defaults were
caused in part by a delay in completion of the Borrower’s new leach processing facility, which

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was originally scheduled for completion by November 2015, but is now anticipated to be
completed in January 2016. Nonetheless, there will remain a continuing risk that Borrower
may not be able to meet its payment obligations in the future, for reasons that may include:
difficulty in raising additional equity capital if and when needed; further delays in completion
of the Borrower’s leach processing facility or any failure of such facility to perform as expected
once completed; a further decline in the market price of commodities including copper; an
increase in the Borrower’s operating costs; or a decline in the quality of the copper ore produced
by the Borrower’s mining operations.

Despite these possible risks, the Boards of each of Lippo and LCR consider that, on balance,
the Acquisition is beneficial to the Lippo Group and the LCR Group, as the Acquisition allows
the Buyer to purchase the Target Company at a consideration representing a substantial discount
to the face value of the Loans. In addition, the Loans are secured by, inter alia, certain properties
and assets and mining deposits owned by the Borrower which will reduce the risks associated
with the Acquisition. The Boards of Lippo and LCR understand that the Borrower has good
copper deposits based on the prevailing market prices, which is an important factor when
deciding on further investments in the Project Company. The new leach processing facility,
once completed, is expected to greatly improve the efficiency of copper processing and increase
production yields, thereby enhancing the performance of the business.

The Boards of each of Lippo and LCR believe that the Acquisition provides an opportunity for
Lippo Group and LCR Group to increase its participation in the Project Company and
potentially enhance expected investment returns with only a modest increase in risk. The
respective Boards of Lippo and LCR believe that the terms of the Acquisition are fair and
reasonable and in the interest of the shareholders of each of Lippo and LCR as a whole.

INFORMATION ON LIPPO, LCR AND THE BUYER

LCR is an approximate 71.24% indirect subsidiary of Lippo. The principal business activity of
LCR is investment holding. The principal activities of the subsidiaries, associates, joint ventures
and joint operations of LCR include investment holding, property investment, property
development, food business, property management, mineral exploration, extraction and
processing, securities investment, treasury investment and money lending.

The principal business activity of Lippo is investment holding. The principal business activities
of the subsidiaries, associates, joint ventures and joint operations of Lippo are investment
holding, property investment, property development, hotel operation, food business, property
management, project management, mineral exploration, extraction and processing, fund
management, underwriting, corporate finance, securities broking, securities investment,
treasury investment, money lending, banking and other related financial services.

The principal business activity of the Buyer is investment holding.

INFORMATION ON THE SELLER

To the best knowledge of the Boards of Lippo and LCR, the principal business activity of the
Seller is investment holding.

To the best of the knowledge, information and belief of the respective Boards of Lippo and
LCR having made all reasonable enquiries, the Seller and its ultimate beneficial owners are
independent of each of Lippo and LCR and their respective connected persons.

                                                 3

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 LISTING RULES IMPLICATIONS

 Since one or more of the applicable percentage ratios in respect of the Acquisition exceeds 5%
 but is less than 25%, the Acquisition constitutes a discloseable transaction for each of Lippo
 and LCR under Chapter 14 of the Listing Rules and is subject to the reporting and
 announcement requirements as set out in Chapter 14 of the Listing Rules. The Acquisition,
 when aggregated with the previous investments made by the LCR Group in the Project
 Company subsequent to the acquisition referred to in the joint announcement of Lippo and LCR
 dated 28 February 2012, shall continue to constitute a discloseable transaction for each of Lippo
 and LCR.

 DEFINITIONS

 In this announcement, unless the context otherwise requires, the following terms and
 expressions shall have the following meanings:

  "Acquisition"                the acquisition of the Sale Share and the Shareholder’s Loan
                               pursuant to the Sale and Purchase Agreement;

  "Board"                      the board of directors of the applicable company or group;

  "Borrower"                   CS Mining, LLC, a Delaware (U.S.) limited liability company
                               and a majority owned subsidiary of the Project Company;

  "Buyer"                      Sincere Wish Global Limited, a company incorporated in the
                               British Virgin Islands with limited liability and an indirect
                               wholly-owned subsidiary of LCR;

  "connected person(s)"        has the meaning ascribed to such term under the Listing Rules;

  "Consideration"              US$22,990,266 (equivalent to approximately HK$178.2
                               million);

  "Hong Kong"                  the Hong Kong Special Administrative Region of the PRC;

  "LCR"                        Lippo China Resources Limited 力 寶 華 潤 有 限 公 司 , a
                               company incorporated in Hong Kong with limited liability
                               whose shares are listed on the Main Board of the Stock
                               Exchange and an approximate 71.24% indirect subsidiary of
                               Lippo;

  "LCR Group"                  LCR and its subsidiaries;

  "LIBOR"                      London Interbank Offered Rate;

  "Lippo"                      Lippo Limited 力寶有限公司, a company incorporated in Hong
                               Kong with limited liability whose shares are listed on the Main
                               Board of the Stock Exchange;

  "Listing Rules"              the Rules Governing the Listing of Securities on the Stock
                               Exchange;


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  "Loans"                     the loans owed by the Borrower to the Target Company in the
                              aggregate principal amount of US$29,750,000 (equivalent to
                              approximately HK$230.6 million) together with interest accrued
                              of approximately US$3.4 million (equivalent to approximately
                              HK$26.4 million);

  "Project Company"           Skye Mineral Partners, LLC, a Delaware (U.S.) limited liability
                              company;

  "Sale and Purchase          the agreement entered into between the Buyer and the Seller in
  Agreement"                  respect of the sale and purchase of the Sale Share and the
                              Shareholder’s Loan;

  “Sale Share”                one share of US$1.00 in the Target Company, representing the
                              entire issued capital of the Target Company;

  "Seller"                    Malimbu Limited, a company incorporated in the British Virgin
                              Islands with limited liability;

  "Shareholder's Loan"        the sums advanced by the Seller to the Target Company and any
                              sums outstanding which are owed by the Target Company to the
                              Seller as referred to in the Sale and Purchase Agreement;

  "Stock Exchange"            The Stock Exchange of Hong Kong Limited;

  "Target Company"            Waterloo Street Limited, a company incorporated in the British
                              Virgin Islands with limited liability;

  "United States"             the United States of America (including its territories and
                              dependences, any state of the United States of America and the
                              District of Columbia);

  "HK$"                       Hong Kong dollar, the lawful currency of Hong Kong;

  "US$"                       United States dollar, the lawful currency of the United States;
                              and

  "%"                         per cent.


             By Order of the Board                       By Order of the Board
               LIPPO LIMITED                      LIPPO CHINA RESOURCES LIMITED
              John Luen Wai Lee                           John Luen Wai Lee
             Managing Director and                       Chief Executive Officer
             Chief Executive Officer


 Hong Kong, 1 January 2016




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Note: For use in this announcement and for illustration purposes only, conversion of US$ into
      HK$ is based on an approximate exchange rate of US$1.00 to HK$7.7506. No
      representation is made that any amount in US$ or HK$ could be converted at such rate
      or any other rates.

As at the date of this announcement, the board composition of each of Lippo and LCR is as
follows:

Lippo                                            LCR
Executive Directors:                             Executive Directors:
Dr. Stephen Riady (Chairman)                     Dr. Stephen Riady (Chairman)
Mr. John Luen Wai Lee                            Mr. John Luen Wai Lee
  (Managing Director and                           (Chief Executive Officer)
     Chief Executive Officer)                    Mr. James Siu Lung Lee

Non-executive Directors:                         Non-executive Director:
Mr. Jark Pui Lee                                 Mr. Leon Nim Leung Chan
Mr. Leon Nim Leung Chan

Independent Non-executive Directors:             Independent Non-executive Directors:
Mr. Edwin Neo                                    Mr. Edwin Neo
Mr. King Fai Tsui                                Mr. King Fai Tsui
Mr. Victor Ha Kuk Yung                           Mr. Victor Ha Kuk Yung




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James W. Anderson [9829]
Walter A. Romney [7975]
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       war@clydesnow.com
       vbf@clydesnow.com

Attorneys for Defendants Noble Americas Corp.


                         IN THE UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF UTAH, CENTRAL DIVISION


 In re CS MINING, LLC

                           Debtor

 CS MINING, LLC, a Delaware Limited                Bankruptcy Case No. 16-24818
 Liability Company,
                                                   (Chapter 11)
           Plaintiff,
                                                   Judge William T. Thurman
 vs.
                                                   Adv. Pro. No.: 17-02025
 NOBLE AMERICAS CORP., a Delaware
 Corporation; WATERLOO STREET
 LIMITED, a British Virgin Islands Company,

           Defendants.


       NOBLE AMERICAS CORP.’S RESPONSES TO WUMI’S 4/7/17 REQUESTS FOR
                    ADMISSION AND INTERROGATORIES




{01160115-2 }
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         Defendant, Noble Americas Corp. (“Noble”), by and through its counsel of record,

hereby responds to David J. Richards, LLC d/b/a Western US Mineral Investors, LLC

(“WUMI”) Requests for Admission (“Requests”) and Interrogatories (“Interrogatories”) as

follows:

                                   GENERAL OBJECTIONS

         1.     Without waiving any of its rights, Noble objects to WUMI’s discovery requests

given the April 25, 2017 Order Staying Claims by and Against Noble Americas Corp. Noble

reserves all rights associated with the Order Staying Claims and the fact that Noble is providing

responses to these discovery requests should not be viewed in any way as a waiver by Noble

relating to the Order Staying Claims.

         2.     Noble objects to WUMI’s discovery requests to the extent that they seek

information subject to the attorney-client work product or any other recognized privilege against

disclosure. Noble further states that in responding to any request, it is not waiving, intentionally

or otherwise, its attorney-client privilege, work product doctrine protections, or any other

applicable privilege or doctrine protecting communications, transactions or, records from

disclosure.

         3.     Noble objects to WUMI’s discovery requests to the extent that they seek

information that is unreasonably cumulative, duplicative, or obtainable from some other source

that is more convenient, less burdensome or less expensive.




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         4.     Noble objects to WUMI’s discovery requests to the extent that they seek

information that is already known to WUMI or otherwise available to them from documents in

their own files or from public records.

         5.     Noble objects to WUMI’s discovery requests to the extent that they seek

confidential business or proprietary information with no evidentiary significance.

         6.     Noble objects to WUMI’s discovery requests which solicit information that is not

relevant to the subject matter of this civil action and/or not likely to lead to the discovery of

admissible evidence.

         7.     Noble objects to WUMI’s discovery requests that are overly broad, vague and

ambiguous, or unduly burdensome.

         8.     Noble objects to each and every definition, instruction and request to the extent

that it purports to impose discovery obligations beyond those permitted by the Utah Rules of

Civil Procedure.

         9.     To the extent Noble adopts any term or definition presented by WUMI, it is

adopted solely for convenience in responding to these discovery requests, and Noble does not

accept any terms or definitions or concede that any of them are appropriate, descriptive, or

accurate.

         10.    Noble reserves the right to amend or supplement its responses as additional

responsive information is located and produced, or otherwise as permitted by the Federal Rules

of Civil Procedure and the Federal Rules of Bankruptcy Procedure.




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         11.    The objections set forth above are incorporated into the responses below and shall

be deemed continuing, even if not specifically referred to in the response.

                                 REQUESTS FOR ADMISSION

    1. You sent a letter to the Debtor dated November 10, 2015, in which you informed the

         Debtor that one or more Events of Default had occurred under the Noble/Waterloo Loan

         Agreement.

         RESPONSE: Admit.

    2. You sent a letter to the Debtor dated December 30, 2015, in which you informed the

         Debtor that one or more Events of Default had occurred under the Noble/Waterloo Loan

         Agreement.

         RESPONSE: Admit.

    3. As of December 30, 2015, one or more Events of Default had occurred under the

         Noble/Waterloo Loan Agreement.

         RESPONSE: Admit.

    4. The Tenth Amendment to the Loan Agreement is a valid contract.

         RESPONSE: Noble objects to this Response as it calls for a legal conclusion. Without

         waiving this specific objection and the general objections outlined above, and despite its

         reasonable inquiry, the information it knows or can readily obtain is insufficient to enable

         it to admit or deny the Request. Noble therefore denies the same.




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    5. The Tenth Amendment to the Loan Agreement is enforceable by WUMI.

         RESPONSE: Noble objects to this Response as it calls for a legal conclusion. Without

         waiving this specific objection and the general objections outlined above, and despite its

         reasonable inquiry, the information it knows or can readily obtain is insufficient to enable

         it to admit or deny the Request. Noble therefore denies the same.

    6. You were aware of the Tenth Amendment to the Loan Agreement as of December 31,

         2015.

         RESPONSE: Deny.

                                       INTERROGATORIES

    1. If your response to any of the foregoing Requests for Admission is anything other than an

         unqualified admission, state the following for each Request for Admission not

         unconditionally admitted:

                 (a) State all facts on which you base your qualification or denial.

                 (b) Identify every person having knowledge of facts supporting or otherwise

                    relating to your respond to subpart (a) of this Interrogatory and state the basis

                    for such knowledge;

                 (c) Identify with specificity all documents referring or relating in any way to your

                    response to subparts (a) and (b) of this Interrogatory.

         RESPONSE: Noble objects to this Interrogatory in that the responses to Requests 4 and

         5 call for legal conclusions to which no response is necessary. Noble further objects to

         Requests 4, 5, and 6 as this Interrogatory seeks to have Noble prove a negative in that


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         Noble denies that it had any knowledge of the Tenth Amendment to the Loan Agreement

         prior to December 31, 2015. As a result, Noble is not aware of any facts, individuals,

         and/or documents or otherwise that would be responsive to Requests 4, 5, and 6.

         DATED this 8th day of May, 2017.

                                              CLYDE SNOW & SESSIONS

                                              /s/ Walter A. Romney, Jr.
                                              James W. Anderson
                                              Walter A. Romney, Jr.
                                              Victoria B. Finlinson

                                              Attorneys for Defendants Noble Americas, Corp.




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                                         ROUGH DRAFT


                                                                                      Page 1
 1                               ROUGH DRAFT DISCLAIMER
 2

 3                   THE STENOGRAPHIC NOTES TAKEN IN THIS
 4     DEPOSITION ARE BEING TRANSLATED INSTANTANEOUSLY
 5     INTO THEIR ENGLISH EQUIVALENT THROUGH AN AUTOMATED
 6     PROCESS CALLED REAL-TIME TRANSLATION.                            THIS
 7     TRANSCRIPT HAS BEEN NEITHER EDITED NOR PROOFREAD
 8     BY THE COURT REPORTER.             THE REAL-TIME DRAFT IS
 9     UNEDITED AND UNCERTIFIED AND MAY CONTAIN
10     UNTRANSLATED STENOGRAPHIC SYMBOLS, AN OCCASIONAL
11     REPORTER'S NOTE, A MISSPELLED PROPER NAME AND/OR
12     NONSENSICAL WORD COMBINATIONS.
13                           ALL SUCH ENTRIES WILL BE CORRECTED ON
14     THE FINAL CERTIFIED TRANSCRIPT, WHICH WILL BE DELIVERED
15     TO YOU IN ACCORDANCE WITH STANDARD DELIVERY TERMS
16     OR ON AN EXPEDITED BASIS, AS REQUESTED.
17                           DUE TO THE NEED TO CORRECT ENTRIES PRIOR
18     TO CERTIFICATIONS, THIS ROUGH REAL-TIME DRAFT
19     CAN ONLY BE USED FOR THE PURPOSE OF AUGMENTING
20     COUNSEL'S NOTES, AND NOT TO BE USED IN ANY COURT
21     PROCEEDING OR TO DISTRIBUTE TO OTHER PARTIES, PURSUANT
22     TO GOVERNMENT CODE SECTION 69954(D).
23

24

25



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                                                                                   Page 2
 1                   IN THE UNITED STATES BANKRUPTCY COURT
 2                     DISTRICT OF UTAH, CENTRAL DIVISION
 3
 4
 5     In re CS MINING, LLC            )
                                       )
 6              Debtor                 )
       ________________________________)
 7                                     )
       CS MINING, LLC, a Delaware      )
 8     limited liability company,      )
                                       )                        Bankruptcy Case No.
 9              Plaintiff,             )                          16-24818
                                       )                        Adversary Pro. No.:
10                VS.                  )                          17-02024
                                       )
11     DAVID J. RICHARDS, LLC d/b/a a )
       WESTERN US MINERAL INVESTORS,   )
12     LLC, an Ohio Limited Liability )
       Company.                        )
13                                     )
                Defendant.             )
14     ________________________________)
15
16                        R O U G H   D R A F T
17            30(b)(6) Deposition of Waterloo Street Limited
18                             Testimony of
19                            Sanjiv Noronha
20                       Los Angeles, California
21                       Wednesday, May 31, 2017
22
23
       REPORTED BY:
24     KIMBERLY WILDISH
       CSR NO. 8078
25     FILE NO.: 123930

                             TSG Reporting - Worldwide   877-702-9580
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                                                                                    Page 139
 1             Q.        Thank you.                                                 14:10
 2                       Go to Waterloo 4.               This was previously
 3    marked.    Just for the record, the waiver you previously
 4    testified was a waiver of default letter.                      And you said
 5    that you were familiar with this document, is that                            14:11
 6    correct?
 7             A.        Um-hmm.
 8             Q.        And paragraph one talked about an
 9    existing default.          Is that accurate?
10             A.        Um-hmm.      Yes.                                          14:11
11             Q.        So as of February 3, 2016, there was an
12    existing default in the Noble loan Noble Waterloo loan.
13             MS. SOTO:    Objection; form.               Foundation.     Calls
14    for a legal conclusion.
15             THE WITNESS:        I spoke to lawyers.                              14:11
16    BY MR. COX:
17             Q.        Do you as Waterloo assert that prior to
18    February 3rd, 2016, there was a default in the Noble
19    Waterloo loan?
20             MS. SOTO:    Objection; form.               Foundation.     Calls    14:11
21    for a legal conclusion.
22             THE WITNESS:        I spoke to my lawyers.
23             MR. COX:    Let me ask that one again.
24             Q.        Does Waterloo Street Limited assert a
25    default in the Noble Waterloo loan prior to February 3,                       14:12


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                                                                                   Page 140
 1    2016?                                                                        14:12
 2             MS. SOTO:    Same objections.
 3             THE WITNESS:       There was a default.
 4             MR. COX:    Okay.
 5             Q.        And this letter purports to waive that                    14:12
 6    default as of February 3, 2016?
 7             A.        That's correct.
 8             Q.        And if you look at it, it only waives
 9    that default until March 1, 2016.                   Is that accurate?
10             A.        Um-hmm.                                                   14:12
11             Q.        So after March 1, 2016...
12             A.        Yes.
13             Q.        ... those defaults...                Is the loan in
14    default now?
15             MS. SOTO:    Objection; calls for a legal                           14:12
16    conclusion.     Form.      Foundation.
17             THE WITNESS:       I cannot comment on that.              I have
18    no comment.
19    BY MR. COX:
20             Q.        Does Waterloo Street Limited assert after 14:13
21    March 1, 2016 there was a default or there is a
22    continuing default in the Noble Waterloo loan?
23             MS. SOTO:    Objection.           Same objections.
24             THE WITNESS:       No comment.
25



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                                         ROUGH DRAFT


                                                                                  Page 141
 1    BY MR. COX:                                                                 14:13
 2             Q.        So you're not answering that?
 3             A.        I'm not answering that.
 4             Q.        So I take that...               So...
 5             MS. SOTO:    Just let me.                                          14:13
 6                       If you have no comment because the only
 7    information you have regarding this issue comes from
 8    your attorneys, you have to state that as opposed to
 9    just saying no comment.
10             THE WITNESS:      Oh, okay.                                        14:13
11             MS. SOTO:    I was just trying to help so he would
12    give a correct response.
13             THE WITNESS:      Okay.
14                       No comment because I spoke with the
15    lawyers.                                                                    14:13
16    BY MR. COX:
17             Q.        I understand you spoke to the lawyers.
18    But the company has to have a position as to whether
19    their loan is in default.
20                       Does the company assert today that the                   14:13
21    loan is in default?
22             MS. SOTO:    Just objection.               Legal conclusion.
23                       Are you asking have we noticed a default
24    or do we have a position?
25



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                                                                                   Page 142
 1    BY MR. COX:                                                                  14:14
 2             Q.        Do you have a position?
 3             A.        Whether the loan is in default?
 4             Q.        Yes.
 5             A.        The Noble loan?                                           14:14
 6             Q.        Yes.
 7             A.        Yes.
 8             Q.        Go to Waterloo 3.               In the second page,
 9    Bates number Waterloo WAT 1366.               Page Waterloo WAT 1366.
10    A loan requests?                                                             14:14
11             A.        1365, right?
12             MS. SOTO:    Turn to the next page.
13    BY MR. COX:
14             Q.        Can you generally explain what this
15    document is?                                                                 14:15
16             MS. SOTO:    Objection; asked and answered.
17             THE WITNESS:      Answer?
18             MS. SOTO:    Yeah.
19             THE WITNESS:      This is the last draw down of the
20    request from CS Mining to Noble for the Noble/Waterloo                       14:15
21    loan.
22    BY MR. COX:
23             Q.        So this draw request was made on or about
24    February 3, 2016?
25             A.        It says 2nd of February.                                  14:15


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                                                                                         Database 17­02024             Desc Exhibit
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    CM/ECF Help Desk 801­450­3443 (8am to 4:30pm Mon ­ Fri)
    Court Website Local Rules Email

File a Motion:
17­02024 CS Mining, LLC v. David J. Richards, LLC dba Western US Mineral Inve
Type: ap                         Chapter: v                      Office: 2 (Salt Lake City)
Judge: WTT                       Lead Case: 2­16­bk­24818

                                                                   U.S. Bankruptcy Court

                                                                      District of Utah

Notice of Electronic Filing

The following transaction was received from P. Matthew x2Cox entered on 6/19/2017 at 3:09 PM MDT and filed on
6/19/2017
Case Name:           CS Mining, LLC v. David J. Richards, LLC dba Western US Mineral Inve
Case Number:         17­02024
Document Number: 35

Docket Text:
Motion for Summary Judgment and Memorandum in Support (Partial) Filed by David J. Richards, LLC dba Western
US Mineral Investors. (x2Cox, P.)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:MSJ ­ Default and Waiver (WUMI) (with exhibits).pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983650642 [Date=6/19/2017] [FileNumber=25986866­0
] [2757a1e64f8c7fa7a88f5a3fdf31ee954b5a57aaa7388af73fddfd36a42dc857762
a4f90d4712dd6d18f62480a5aee525417afa9df98eadef6d216f3b79c5577]]

17­02024 Notice will be electronically mailed to:

Keith A. Call on behalf of Defendant David J. Richards, LLC dba Western US Mineral Investors
kcall@scmlaw.com

Joanna J. Cline on behalf of Plaintiff CS Mining, LLC
clinej@pepperlaw.com

Robert T. Denny on behalf of Defendant David J. Richards, LLC dba Western US Mineral Investors
rtd@scmlaw.com, ajm@scmlaw.com

David E. Leta on behalf of Plaintiff CS Mining, LLC
dleta@swlaw.com, wkalawaia@swlaw.com;csmart@swlaw.com

Adelaide Maudsley on behalf of Interested Party Waterloo Street Limited
amaudsley@kmclaw.com, tslaughter@kmclaw.com

Jeff D. Tuttle on behalf of Plaintiff CS Mining, LLC
jtuttle@swlaw.com, jpollard@swlaw.com;docket_slc@swlaw.com

P. Matthew x2Cox on behalf of Defendant David J. Richards, LLC dba Western US Mineral Investors
bankruptcy_pmc@scmlaw.com

17­02024 Notice will not be electronically mailed to:

Donald J. Detweiler on behalf of Plaintiff CS Mining, LLC
Pepper Hamilton, LLP
https://ecf.utb.uscourts.gov/cgi­bin/Dispatch.pl?139312400422323                                                                      1/2
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                                                                          of Utah ­ Live           06/30/17 19:28:54
                                                                                         Database 17­02024             Desc Exhibit
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1313 North Market Street
P.O. Box 1709
Wilmington, DE 19899­1709

Francis J. Lawall on behalf of Plaintiff CS Mining, LLC
Pepper Hamilton
3000 Two Logan Square
Eighteenth and Arch Streets
Philadelphia, PA 19103­2799




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                  Exhibit 5
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                  Exhibit 6
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                  Exhibit 7
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James W. Anderson [9829]
Walter A. Romney [7975]
Victoria B. Finlinson [15103]
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       war@clydesnow.com
       vbf@clydesnow.com

Attorneys for Defendants Noble Americas Corp.


                         IN THE UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF UTAH, CENTRAL DIVISION


 In re CS MINING, LLC

                           Debtor

 CS MINING, LLC, a Delaware Limited                Bankruptcy Case No. 16-24818
 Liability Company,
                                                   (Chapter 11)
           Plaintiff,
                                                   Judge William T. Thurman
 vs.
                                                   Adv. Pro. No.: 17-02025
 NOBLE AMERICAS CORP., a Delaware
 Corporation; WATERLOO STREET
 LIMITED, a British Virgin Islands Company,

           Defendants.


       NOBLE AMERICAS CORP.’S RESPONSES TO WUMI’S 4/7/17 REQUESTS FOR
                    ADMISSION AND INTERROGATORIES




{01160115-2 }
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         Defendant, Noble Americas Corp. (“Noble”), by and through its counsel of record,

hereby responds to David J. Richards, LLC d/b/a Western US Mineral Investors, LLC

(“WUMI”) Requests for Admission (“Requests”) and Interrogatories (“Interrogatories”) as

follows:

                                   GENERAL OBJECTIONS

         1.     Without waiving any of its rights, Noble objects to WUMI’s discovery requests

given the April 25, 2017 Order Staying Claims by and Against Noble Americas Corp. Noble

reserves all rights associated with the Order Staying Claims and the fact that Noble is providing

responses to these discovery requests should not be viewed in any way as a waiver by Noble

relating to the Order Staying Claims.

         2.     Noble objects to WUMI’s discovery requests to the extent that they seek

information subject to the attorney-client work product or any other recognized privilege against

disclosure. Noble further states that in responding to any request, it is not waiving, intentionally

or otherwise, its attorney-client privilege, work product doctrine protections, or any other

applicable privilege or doctrine protecting communications, transactions or, records from

disclosure.

         3.     Noble objects to WUMI’s discovery requests to the extent that they seek

information that is unreasonably cumulative, duplicative, or obtainable from some other source

that is more convenient, less burdensome or less expensive.




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         4.     Noble objects to WUMI’s discovery requests to the extent that they seek

information that is already known to WUMI or otherwise available to them from documents in

their own files or from public records.

         5.     Noble objects to WUMI’s discovery requests to the extent that they seek

confidential business or proprietary information with no evidentiary significance.

         6.     Noble objects to WUMI’s discovery requests which solicit information that is not

relevant to the subject matter of this civil action and/or not likely to lead to the discovery of

admissible evidence.

         7.     Noble objects to WUMI’s discovery requests that are overly broad, vague and

ambiguous, or unduly burdensome.

         8.     Noble objects to each and every definition, instruction and request to the extent

that it purports to impose discovery obligations beyond those permitted by the Utah Rules of

Civil Procedure.

         9.     To the extent Noble adopts any term or definition presented by WUMI, it is

adopted solely for convenience in responding to these discovery requests, and Noble does not

accept any terms or definitions or concede that any of them are appropriate, descriptive, or

accurate.

         10.    Noble reserves the right to amend or supplement its responses as additional

responsive information is located and produced, or otherwise as permitted by the Federal Rules

of Civil Procedure and the Federal Rules of Bankruptcy Procedure.




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         11.    The objections set forth above are incorporated into the responses below and shall

be deemed continuing, even if not specifically referred to in the response.

                                 REQUESTS FOR ADMISSION

    1. You sent a letter to the Debtor dated November 10, 2015, in which you informed the

         Debtor that one or more Events of Default had occurred under the Noble/Waterloo Loan

         Agreement.

         RESPONSE: Admit.

    2. You sent a letter to the Debtor dated December 30, 2015, in which you informed the

         Debtor that one or more Events of Default had occurred under the Noble/Waterloo Loan

         Agreement.

         RESPONSE: Admit.

    3. As of December 30, 2015, one or more Events of Default had occurred under the

         Noble/Waterloo Loan Agreement.

         RESPONSE: Admit.

    4. The Tenth Amendment to the Loan Agreement is a valid contract.

         RESPONSE: Noble objects to this Response as it calls for a legal conclusion. Without

         waiving this specific objection and the general objections outlined above, and despite its

         reasonable inquiry, the information it knows or can readily obtain is insufficient to enable

         it to admit or deny the Request. Noble therefore denies the same.




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    5. The Tenth Amendment to the Loan Agreement is enforceable by WUMI.

         RESPONSE: Noble objects to this Response as it calls for a legal conclusion. Without

         waiving this specific objection and the general objections outlined above, and despite its

         reasonable inquiry, the information it knows or can readily obtain is insufficient to enable

         it to admit or deny the Request. Noble therefore denies the same.

    6. You were aware of the Tenth Amendment to the Loan Agreement as of December 31,

         2015.

         RESPONSE: Deny.

                                       INTERROGATORIES

    1. If your response to any of the foregoing Requests for Admission is anything other than an

         unqualified admission, state the following for each Request for Admission not

         unconditionally admitted:

                 (a) State all facts on which you base your qualification or denial.

                 (b) Identify every person having knowledge of facts supporting or otherwise

                    relating to your respond to subpart (a) of this Interrogatory and state the basis

                    for such knowledge;

                 (c) Identify with specificity all documents referring or relating in any way to your

                    response to subparts (a) and (b) of this Interrogatory.

         RESPONSE: Noble objects to this Interrogatory in that the responses to Requests 4 and

         5 call for legal conclusions to which no response is necessary. Noble further objects to

         Requests 4, 5, and 6 as this Interrogatory seeks to have Noble prove a negative in that


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         Noble denies that it had any knowledge of the Tenth Amendment to the Loan Agreement

         prior to December 31, 2015. As a result, Noble is not aware of any facts, individuals,

         and/or documents or otherwise that would be responsive to Requests 4, 5, and 6.

         DATED this 8th day of May, 2017.

                                              CLYDE SNOW & SESSIONS

                                              /s/ Walter A. Romney, Jr.
                                              James W. Anderson
                                              Walter A. Romney, Jr.
                                              Victoria B. Finlinson

                                              Attorneys for Defendants Noble Americas, Corp.




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                                                                                    Page 1
1                    IN THE UNITED STATES BANKRUPTCY COURT
2                      DISTRICT OF UTAH, CENTRAL DIVISION
3
4
5      In re CS MINING, LLC            )
                                       )
6               Debtor                 )
       ________________________________)
7                                      )
       CS MINING, LLC, a Delaware      )
8      limited liability company,      )
                                       )               Bankruptcy Case No.:
9               Plaintiff,             )                 16-24818
                                       )               Adversary Pro. No.:
10                VS.                  )                 17-02024
                                       )
11     DAVID J. RICHARDS, LLC d/b/a a )
       WESTERN US MINERAL INVESTORS,   )
12     LLC, an Ohio Limited Liability )
       Company.                        )
13                                     )
                Defendant.             )
14     ________________________________)
15
16
17           30(b)(6) Deposition of Waterloo Street Limited
18                                    Testimony of
19                                  Sanjiv Noronha
20                           Los Angeles, California
21                           Wednesday, May 31, 2017
22
23
24     REPORTED BY: KIMBERLY WILDISH
25     JOB NO: 123930


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                                                                                  Page 149
1               Q.         And Paragraph 1 talks about an existing
2      default.      Is that accurate?
3               A.         Um-hmm.      Yes.
4               Q.         So as of February 3, 2016, there was an
5      existing default in the Noble loan.                The Noble-Waterloo
6      loan.
7               MS. SOTO:        Objection; form.       Foundation.          Calls
8      for a legal conclusion.
9               THE WITNESS:        I spoke to lawyers.
10     BY MR. COX:
11              Q.         Do you as Waterloo assert that prior to
12     February 3rd, 2016 there was a default in the
13     Noble-Waterloo loan?
14              MS. SOTO:        Objection; form.       Foundation.          Calls
15     for a legal conclusion.
16              THE WITNESS:        I spoke to my lawyers.
17              MR. COX:     Let me ask that one again.
18              Q.         Does Waterloo Street Limited assert a
19     default in the Noble-Waterloo loan prior to February 3,
20     2016?
21              MS. SOTO:        Same objections.
22              THE WITNESS:        There was a default.
23              MR. COX:     Okay.
24              Q.         And this letter purports to waive that
25     default as of February 3, 2016.


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                                                                                 Page 151
1      your attorneys, you have to state that as opposed to
2      just saying "no comment."
3               THE WITNESS:        Oh, okay.
4               MS. SOTO:        I was just trying to help him so he
5      would give a correct response.
6               THE WITNESS:        Okay.
7                          No comment, because I spoke with the
8      lawyers.
9               MR. COX:     I understand you spoke to the lawyers.
10     But the company has to have a position as to whether
11     their loan is in default.
12              Q.         Does the company assert today that the
13     loan is in default?
14              MS. SOTO:        And just, objection; legal conclusion.
15                         Are you asking have we noticed a default,
16     or do we have a position?
17     BY MR. COX:
18              Q.         Do you have a position?
19              A.         Whether the loan is in default?
20              Q.         Yes.
21              A.         The Noble loan?
22              Q.         Yes.
23              A.         Yes.
24              MR. COX:     Go to Waterloo 3.          It's the second
25     page, Bates number Waterloo WAT-1366.


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                                                                                   Page 1
 1                    IN THE UNITED STATES BANKRUPTCY COURT
 2                     DISTRICT OF UTAH, CENTRAL DIVISION
 3
 4
 5     In re CS MINING, LLC            )
                                       )
 6              Debtor                 )
       ________________________________)
 7                                     )
       CS MINING, LLC, a Delaware      )
 8     limited liability company,      )
                                       )                          Bankruptcy Case No.:
 9              Plaintiff,             )                            16-24818
                                       )                          Adversary Pro. No.:
10                VS.                  )                            17-02024
                                       )                            Volume I
11     DAVID J. RICHARDS, LLC d/b/a a )
       WESTERN US MINERAL INVESTORS,   )
12     LLC, an Ohio Limited Liability )
       Company.                        )
13                                     )
                Defendant.             )
14     ________________________________)
15
16
17             Rule 2004 Examination of Clarity Copper, LLC
18                    Testimony of Clinton W. Walker
19                        Los Angeles, California
20                         Tuesday, May 23, 2017
21
22
23

       REPORTED BY:
24     KIMBERLY WILDISH
       CSR NO. 8078
25     FILE NO.: 123925

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                                                                                Page 205
 1                   IN THE UNITED STATES BANKRUPTCY COURT
 2                    DISTRICT OF UTAH, CENTRAL DIVISION
 3
 4
 5     In re CS MINING, LLC            )
                                       )
 6              Debtor                 )
       ________________________________)
 7                                     )
       CS MINING, LLC, a Delaware      )
 8     Limited Liability Company,      )
                                       )                       Bankruptcy Case No.:
 9              Plaintiff,             )                         16-24818
                                       )                       Adversary Pro. No.:
10                VS.                  )                         17-02024
                                       )                         Volume II
11     DAVID J. RICHARDS, LLC d/b/a    )
       WESTERN US MINERAL INVESTORS,   )
12     LLC, an Ohio Limited Liability )
       Company.                        )
13                                     )
                Defendant.             )
14     ________________________________)
15
16
17             Rule 2004 Examination of Clarity Copper, LLC
18                    Testimony of Clinton W. Walker
19                        Los Angeles, California
20                        Wednesday, May 24, 2017
21
22
23

       REPORTED BY:
24     KIMBERLY WILDISH
       CSR NO. 8078
25     FILE NO.: 123926

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                                                                                   Page 135
 1              A.          Yes.
 2              Q.          And in connection with Clarity Copper's
 3     investment in WUMI, you're appointed a manager of WUMI;
 4     is that correct?
 5              A.          Correct.
 6              Q.          And do you still hold that position?
 7              A.          No.
 8              Q.          All right.            You resigned in July of 2016;
 9     does that sound right?
10              A.          It sounds about right.                      I don't have the
11     date committed to memory, but it's about right.
12              Q.          I think you explained a moment ago that
13     Clarity Copper first invested in WUMI after Mr. Richards
14     had invested in WUMI but before Saint Cloud did.
15                          Is that correct?
16              A.          I believe that's what I said, and I
17     believe that's correct.
18              Q.          Okay.        And what were the circumstances
19     under which Clarity invested in WUMI?                            What prompted the
20     investment?
21              A.          The company needed additional working
22     capital.      Dave asked me if our entity would like to
23     participate.        I reviewed the opportunity with our
24     investor group.           Our investor group takes time to make a
25     capital call, and we reviewed it.                         You know, talked to


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                                                                                 Page 162
 1                          (WHEREUPON A RECESS WAS HELD
 2                          FROM 2:54 P.M. TO 3:10 P.M.)
 3               MS. CLINE:          Back on.
 4                            Okay.        So I've handed you what's been
 5     marked as Exhibit 26, bearing the Bates stamp WUMI3401.
 6                            (THE DOCUMENT REFERRED TO WAS
 7                            MARKED AS EXHIBIT 26 AND IS
 8                            ATTACHED HERETO)
 9     BY MS. CLINE:
10               Q.           This is your resignation notice from the
11     Board of Managers of WUMI; correct?
12               A.           Correct.
13               Q.           And that's your signature; right?
14               A.           It is.
15               Q.           And you resigned from WUMI on or about
16     July 27th of 2016?
17               A.           That's what the document says.
18               Q.           And is that consistent with your memory?
19               A.           It is.
20               Q.           Okay.        And, why?
21               A.           Just to try and remove any conflicts as
22     we were edging toward the bankruptcy issues and things
23     like that.
24               Q.           The petition had already been filed; is
25     that right?

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                                                                                 Page 195
 1     collateral agent.           They wanted to make sure that they
 2     could protect their collateral.
 3                          And this conversation we had earlier
 4     about these, not to be unreasonably withheld, that was a
 5     very specific negotiation with Saint Cloud.                          Because
 6     they wanted to make sure they could do it.
 7                          And from our perspective, the only thing
 8     we were trying to do was -- you know, not -- protect CS
 9     from having a frivolous lawsuit.                        Right?
10                          So those...             These discussions were
11     driven by Saint Cloud.                They drove these amendments.
12     They drove this amendment.                   They negotiated hard for
13     these points.
14              Q.          Your best memory is that Saint Cloud came
15     into control of WUMI sometime between June of 2013 and
16     December of 2013?
17              A.          Yes.
18              Q.          And that was the same time in which you
19     became a minority manager at WUMI; is that correct?
20              A.          Correct.
21              Q.          Effectively losing control of the entity;
22     correct?
23              A.          Correct.
24              Q.          Do you have Exhibit 26 in front of you?
25              A.          I do.


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                                                                                       Page 220
 1     foreclosure?
 2              A.         Three.
 3              Q.         I believe it's your testimony that
 4     Saint Cloud had three of the five WUMI board votes?
 5              A.         It is.
 6              Q.         Did Saint Cloud ever express to you a
 7     determination to initiate foreclosure after the CS
 8     default?
 9              A.         Yes.
10              Q.         And who at Saint Cloud expressed that
11     determination to you?
12              A.         Bob Lautz.
13              Q.         And what did he say?
14              A.         He said they have multiple defaults,
15     including a payment default.                  We're going to foreclose.
16     We're going to call the default and see what happens.
17              Q.         And did you consider whether you had the
18     ability to prevent a foreclosure by WUMI?
19              MS. CLINE:        Objection; foundation.                   Form.
20              THE WITNESS:         I believed I had an obligation as a
21     WUMI director to sign those documents.                           Those consents.
22     BY MR. GRIVAKES:
23              Q.         At the time that WUMI voted to initiate
24     foreclosure proceedings on the loan to CS Mining, what
25     was the financial status of CS?


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                Exhibit 12
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                                                                                      Page 1
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 2                     DISTRICT OF UTAH, CENTRAL DIVISION
 3

 4       CS MINING, LLC, a Delaware                       )
 5       Limited Liability Company,                       )       Bankruptcy Case
 6                   Plaintiff,                           )       No. 16-24818
 7                     vs.                                )       Adversary Pro.
 8       DAVID J. RICHARDS, LLC,                          )       No. 17-02024
 9       d/b/a WESTERN US MINERAL                         )
10       INVESTORS 12, LLC, an Ohio                       )
11       Limited Liability Company,                       )       Page 1-224
12                   Defendants.                          )
13

14

15                    DEPOSITION OF DAVID J. RICHARDS
16                                    TAKEN ON
17                         TUESDAY, JUNE 6, 2017
18

19                                Los Angeles, CA
20

21

22

23     Reported by:
24     BRENDA R. COUNTZ, RPR-CRR
25     JOB NO. 123933

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                                                                                  Page 48
 1            A.      When the note was at it's final amount.
 2            Q.      And did the makeup of the folks
 3     categorized as other Empire Advisors change over
 4     time?
 5            A.      I think they -- I don't know.
 6            Q.      Were there ever more than 10 or 12
 7     other Empire Advisors, investors, involved?
 8            A.      With the caveat that, yeah, that number
 9     is just a wild guess.               I think what basically
10     happened was that the number of investors grew to
11     a certain point and stayed there.
12            Q.      So of that group collectively, you and
13     the other Empire Advisors LLC investors, were you
14     the only one whose investment contribution ever
15     went down?
16            A.      I don't know.
17            Q.      Do you still own an ownership interest
18     in WUMI?
19            A.      No.
20            Q.      And when did you divest that last
21     million dollars you mentioned a moment ago?
22            A.      I just don't remember.                    I'm thinking it
23     was toward the end of '15 but I don't remember.
24     I don't remember the date but I think it was
25     about that time frame.

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                                                                                   Page 51
 1            Q.      You don't know whether or not you were
 2     on the board of managers at CS Mining?
 3            A.      I'm not sure if the legality was --
 4     oh, yes, I am.            There is a separate CS Board
 5     meeting.       So yes.
 6                    MR. HUCK:        Could you reask the
 7     question?
 8                    MS. KLINE:         Let's start over.              Can you
 9     read back my question, please?
10                    (The record was read by the reporter.)
11                    THE WITNESS:           I'm a manager at CS.            I
12     attend the CS board of managers meeting so I must
13     be.
14     BY MS. KLINE:
15            Q.      And you still hold that position,
16     right?
17            A.      Yes.
18            Q.      And we saw a moment ago that you were
19     manager of WUMI, correct?
20            A.      Yes.
21            Q.      But you resigned that position,
22     correct?
23            A.      I think so.
24            Q.      And do you know when you did that?
25            A.      No, I don't remember.

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                                                                                  Page 52
 1                    MS. KLINE:         Can you mark this, please,
 2     as DJR 1.
 3                    THE WITNESS:           (Perusing.)
 4                    (DJR Exhibit 1, E-mail Bates
 5                    Stamped WUMI 003333, was marked
 6                    for identification.)
 7                    THE WITNESS:           Okay.
 8     BY MS. KLINE:
 9            Q.      We've handed you what has been marked
10     as DJR 1 and my first question is just whether
11     you recognize the document.
12            A.      It looks like a letter I wrote or an
13     e-mail I wrote to St. Cloud.
14            Q.      Is it fair to say it's a letter that
15     looks like you intended to send via e-mail?
16            A.      Yes.
17            Q.      And this is your resignation from the
18     board of WUMI; is that correct?
19            A.      Yes.
20            Q.      And the date is May 23, 2016.
21                    Do you see that?
22            A.      Yes.
23            Q.      And is that consistent with your
24     recollection as to the timing of your resignation
25     from WUMI?

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                                                                                  Page 53
 1            A.      Yes.
 2            Q.      And why did you choose to resign at
 3     this point in time?
 4            A.      I don't remember all the reasons but
 5     maybe I was just tired of it.                      I didn't have an
 6     interest in it so I was just tired of doing it,
 7     maybe.
 8            Q.      This was a little over a year ago,
 9     right?
10            A.      Right.
11            Q.      And you don't remember the exact
12     reasons?
13            A.      I don't remember the exact reasons but
14     I'm thinking I was probably just tired of it.
15                    There was also the fact that there was
16     a large holder, Houze, that I felt would be more
17     appropriate for making decisions for WUMI than
18     me.
19            Q.      And that's the gentleman to whom you
20     sold your last million dollars, to your
21     recollection, at the end of 2015?
22            A.      Yes.
23            Q.      If that's the case, then why didn't you
24     resign around that time?
25            A.      I don't know.

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                                                                                     Page 59
 1     e-mail, sort of two-thirds of the way down, the
 2     first page of DJR 3 that starts with the
 3     sentence, "Well, we disagree then."
 4                    Do you see that?
 5            A.      Yes.       "We disagree then," it starts.                  I
 6     see that.
 7            Q.      And the next sentence says, "I am not
 8     conflicted as I have no control over WUMI."
 9                    Do you see that?
10            A.      I see it says that.
11            Q.      Was that an accurate statement when you
12     drafted it?
13            A.      Well, I think in the context of the
14     e-mail, whether I could control foreclosure or
15     not, I think it's accurate, yes.                         I think St.
16     Cloud was going to foreclose no matter what so I
17     didn't think I had any control over it.
18                    In fact, I was told as much by Lautz.
19                    MS. KLINE:         Mark this as DJR 4.
20                    THE WITNESS:           (Perusing.)
21                    (DJR Exhibit 4, E-mail Bates
22                    Stamped WUMI 003194, was marked
23                    for identification.)
24                    THE WITNESS:           Yes.
25     BY MS. KLINE:

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                                                                                  Page 68
 1     could not declare a default or pursue collection
 2     or foreclosure without the approval of you and
 3     Mr. Walker?
 4                    MR. COX:        Objection to the extent it
 5     calls for a legal conclusion, mischaracterizes
 6     the document.
 7                    THE WITNESS:           So what the provision
 8     says is it says they can't declare a default that
 9     is not a payment failure by the borrower without
10     blah, blah, blah, blah, blah, without the
11     approval of the minority managers.
12                    So it is true that they generally
13     cannot declare a default without the approval of
14     the minority managers, unless it is a payment
15     default.       I think we are talking about a payment
16     default here is why they were foreclosing.
17                    So while you could argue about what it
18     meant, again, I was trying to stop Lautz.
19     Clearly if the loan is not paid, they have a
20     right to foreclose.
21     BY MS. KLINE:
22            Q.      Let's focus on some of the blah, blah,
23     blah.     Specifically the piece that says, "Pursue
24     collection or foreclosure pursuant to the loan
25     documents without both the approval of the

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                Exhibit 13
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                Exhibit 14
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